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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                       CRIMINAL NO.

      t'                                       DATE FILED

JUSTIN DAVID MAY                               VIOLATIONS:
                                               18 U.S.C. $$ 1341,3559(9)   (mail fraud
                                               - 24 counts)
                                               l8 U.S.C. $ 1956(a)(1)(B)(i) (money laundering
                                               - 16 counts)
                                               l8 U.S.C. $$ 2314,3559(9) (interstate
                                               transportation of goods obtained by fraud
                                                -   3 counts)
                                               26 U.S.C. $ 7201 (tax evasion - 2 counts)
                                               18 U.S.C. $ 2 (aiding and abetting)
                                               Notice of Forfeiture

                                     INDICTMENT
                           COI,]NTS ONE THROUGH FIFIEEN

THE GRAND JURY CHARGES THAT:

              At all times relevant to this indictment:

              l.      Cisco is a corporation based in San Jose, Califomia specializing in

providing intemet networking hardware and software for business, govemment, and individuals.

Cisco's core development areas are in switching and routing, which enable Cisco customers to

communicate through the use of the World Wide Web.

              2.      Cisco manufactures, sells, and supports computer networking equipment

on a global scale. Cisco supports its products through two means: (a) a Limited Lifetime

Hardware warranty Program and Enhanced Limited Lifetime warranty Proglam offered with
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Cisco hardware and software (hereinafter a "Cisco Warranty"); and (b) a more comprehensive

suite of support offered to customers for a fee (called and referred to by Cisco as "SMARTnet"

Service).

               3.      The Cisco Warranty and SMARTnet Service are not transferrable. That

means that any purchase ofused or secondary-market Cisco equipment is not covered by the

Cisco Warranty or SMARTnet Service even if it is purchased through a Cisco channel partner or

distributor. Before used or secondary-market equipment can be placed under a new support

contract, the requester must show proof of a valid software license or pay relicensing fees and

must have the equipment inspected to confirm that it is in proper working order and has been

maintained appropriately.

               4.      When a customer needs technical assistance on a device that is under

Warranty or SMARTnet service, the customer can open a Cisco service request (*SR          )   and

report its problem to Cisco in one ofthe following ways: by telephone, email, or through Cisco's

website (www.cisco.com).

               5.      Cisco maintains Technical Assistance Centers ("TAC") worldwide to

process tlese requests for service.   All   requests for service generate an SR number, which is used

to track the reported problem until it is resolved. Upon creation ofthe SR, information about the

customer is captured as well as the specific product complaint. Once initiated, the SR is sent to a

Cisco TAC engineer for problem diagnosis and resolution. ln some cases, based on the

information provided by the customer, the resolution may require the replacement ofthe product

in question. The TAC engineer will determine if the customer is entitled to     a replacement


product under the terms of Cisco's Limited Warranty Program or SMARTnet service.




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               6.      Ifthe customer   is entitled to a replacement product, TAC   will   generate a


Retum Material Authorization ("RMA") reference number, initiating the process to deliver a

replacement product to the customer. Under Cisco's Warranty and SMARTnet Service

Programs, customers may be entitled to advance replacement, meaning that Cisco or one of its

service centers will ship a replacement product to the customer before the customer sends back

the faulty pa(, with the understanding that the faulty part will subsequently be retumed to Cisco

upon receipt by the customer of the replacement part. Cisco notifies customers who receive

advance replacement that they must retum the defective product.

               7   .   Bitcoin is a q?e of virtual curency, circulated over the Intemet      as a   form

ofvalue. Bitcoin are not issued by any govemment, bank, or company, but rather are generated

and controlled through computer software operating via a decentralized, peer-to-peer network.

Bitcoin are sent to and received fiom Bitcoin "addresses." A Bitcoin address is somewhat

analogous to a bank account number and is represented as a 26-to-35-character-long case-

sensitive string of letters and numbers. Each Bitcoin address is controlled through the use     ofa

unique corresponding private key, a cryptogaphic equivalent ofa password or pin needed to

access the address. Only the holder   ofan address' private key can authorize any transfers of

bitcoin from that address to other Bitcoin addresses.

               8.      To transfer bitcoin to another address, the payor transmits a transaction

announcement, cryptographically signed with the payor's private key, across the peer-to-peer

Bitcoin network. The Bitcoin address of the receiving party and the sender's private key are the

only pieces of information needed to complete the transaction. These two keys by themselves

rarely reflect any identifuing information. As a result, little-to-no personally identifiable

information about the payor or payee is transmitted in a Bitcoin transaction itself. Once the



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payor's transaction announcement is verified, the transaction is added to the blockchain, a

decentralized public ledger that records all Bitcoin transactions' The blockchain logs every

Bitcoin address that has ever received   a   bitcoin and maintains records of every transaction for

each Bitcoin address.

               9.       To acquire Bitcoin, a typical user will purchase them from a Bitcoin

"exchanger." Bitcoin exchangers generally accept payments of fiat currency (currency that

derives its value from govemment regulation or law), or other convertible virtual currencies.

when   a user wishes to purchase   bitcoin from an exchanger, the user will typically send payment

in the form of fiat currency, often via bank wire or ACH, or other convertible virnral currency to

an exchanger, for the corresponding quantity      ofbitcoin,   based on a fluctuating exchange rate.


The exchanger, usually for a commission, will then either sell rhe user bitcoin from the

exchange's reserves or will attempt to broker the purchase with another user who is trying to sell

bitcoin. The purchased bitcoin are then transferred to the purchaser's Bitcoin address, allowing

the user to conduct transactions with other Bitcoin users via the Intemet.

               10.      Virtual currencies, including Bitcoin, have known legitimate uses.

However, given the ease with which Bitcoin can be used to move {irnds with high levels         of

anonymity, Bitcoin can be used to facilitate illicit transactions and to launder criminal proceeds.

               I   L    Boothwyn Check Cashing was a business located in Boothwyn,

Pennsylvani4 that provided check cashing, money order, bill payment, and money transmittal

servrces.

                12.     Boothwyn Check Cashing customers could present checks to be cashed

and receive in retum the cash value of the check, minus Boothwyn Check Cashing's service

charge.



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               13.    In order to cash a check, Boothwyn Check Cashing customers were

required to provide their name and address, present a valid form of identification each time they

visited, and submit to having their photograph taken.

               14.    Softnetworks LLC was a business located in New Jersey that was in the

business ofreselling new and refurbished networking equipment, computers, and computer

server products.

               15.    Computechsale LLC was a business located in New Jersey that was in the

business ofreselling new and refurbished networking equipment and computer-related products.

               16.    Defendant JUSTIN DAVID MAY had a checking account at Woodforest

National Bank in ending in 2604.

                                        THE SCHEME

                                                                            'n
               17.     Beginning in or about April 2016 and continuing unl'l or about April

2017, within the Eastem District ofPennsylvania and elsewhere, defendant

                                     JUSTIN DAVID MAY

alone and with co-schemers known to the grand jury, devised and intended to devise a scheme to

defraud and to obtain money and property by means of false and fiaudulent pretenses,

representations, and promises.

                                    MANNER AND MEANS

               18.     Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury obtained and ascertained serial numbers for Cisco computer hardware that defendant MAY

did not own or possess.




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                 19.     Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury verified with Cisco that the serial numbers he had obtained and ascertained were valid Cisco

serial numbers for Cisco computer hardware.

                 20.     Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury registered false domain names.

                 21.     Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury took   steps to prevent the effective identification of defendant   MAY and the co-schemers   as


the persons who registered the false domain names and to effectively prevented Cisco and law

enforcement from contacting defendant MAY and the co-schemers and tracking defendant MAY

and the co-schemers by tracing the registration of the false domain names, including paying    for

the domain name registration with Bitcoin and utilizing a service called "WhoisGuard," which

provided a level of anonymity for the person registering the domain name.

                 22.     Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury established email   addresses using the false domain names that were desiga to mislead Cisco

into believing that the email address was associated with a person who worked for a legitimate

company.

                 23,     Defendant JUSTIN DAVID MAY and co-schemers known to the $and

jury   used the false domain names and the email addresses he created tied to those false domain

names to create false cisco.com user IDs.

                 24.     Defendant JUSTIN DAVID MAY used the false domain name and e-mail

addressed he created tied to those domain names, the false cisco.com user IDs he created, and the

legitimate serial numbers that he had obtained and ascertained for Cisco computer hardware to

submit approxim ately 266 false Cisco Warranty and Cisco SMARTnet service requests for Cisco



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products that defendant MAY did not own or possess, which led to the creation of266 SR

numbers, all in an attempt to obtain by fraud computer hardware from Cisco with a retail value

of approximately $4,044,260.

               25.    Co-schemers known to the grand    jury used the false domain name and e-

mail addresses they had created tied to those domain names, the false cisco.com user IDs they

had created, and the legitimate serial numbers that they had obtained and ascertained for Cisco

computer hardware to submit additional false Cisco Warranty and Cisco SMARTNET service

requests in addition to the approximately 266 false Cisco Warranty and Cisco SMARTnet

service requests for Cisco products that defendant JUSTIN DAVID MAY had submitted, which

led to the creation of additional SR numbers in addition to the approximately 266 SR numbers

defendant MAY had caused to be created, all in an attempt to obtain by fraud computer hardware

from Cisco in additional to the approximately $4,044,260 in Cisco computer hardware defendant

MAY   had attempted to obtain.

               26.    Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury communicated with Cisco TAC engineers by phone, email, and through online intemet chat

sessions posing as legitimate Cisco customers with faulty Cisco computer hardware that was

covered by Cisco Warranty and Cisco SMARTnet coverage in order to induce Cisco to ship

"replacement" computer hardware via Federal Express ("FedEx") for the supposedly faulty

computer hardware that defendant MAY and his co-schemers claimed to own and possess.

               27.    Defendant JUSTIN DAVID MAY and co-schemers known to the grand

jury provided Cisco TAC engineers with descriptions ofthe supposed problems with the

computer hardware that defendant MAY and his co-schemers knew would prevent the TAC




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engineers from solving the supposed problems through troubleshooting and would necessarily

require the replacement ofthe supposedly faulty computer hardware.

                28.      Defendant JUSTIN DAVID MAY and his co-schemers represented to

Cisco that they would retum the supposedly faulty computer hardware to Cisco.

                29.      Defendant JUSTIN DAVID MAY, by his misrepresentations, successfully

induced Cisco to ship approximately 169 pieces ofvaluable Cisco computer hardware to

defendant MAY via FedEx, with a retail value of approximately $2,344,860.

                30.      Co-schemers known to the grand   jury, by their misrepresentations,

successfully induced Cisco to ship additional pieces of valuable Cisco computer hardware to the

co-schemers via FedEx.

                3   l.   Defendant JUSTN DAVID MAY provided Cisco with addresses at which

Cisco could ship the computer hardware, including addresses in the Eastem District     of

Pennsylvania.

                32.      Defendant JUSTIN DAVID MAY tracked the shipment of the Cisco

computer hardware through FedEx.

                33.      Defendant JUSTIN DAVID MAY contacted FedEx and changed the

shipping address of shipments to FedEx stores in the Eastem District of Pennsylvania and

elsewhere.

                34.      Defendant JUSTIN DAVID MAY traveled from his residence in the

District of Delaware to the locations to which Cisco had shipped the computer hardware,

including FedEx stores in the Eastern District of Pennsylvani4 the District of Nevad4 the

District of Maryland, the District of New Jersey, and elsewhere.




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               35.     Defendant JUSTIN DAVID MAY obtained the Cisco computer hardware

from the locations to which it had been shipped, including from FedEx stores in the Eastern

District of Pennsylvania, the District of Nevada, the District of Maryland, and the District of

New Jersey, and elsewhere, by posing as the intended recipient.

               36.     Defendant JUSTIN DAVID MAY travelled with the fraudulent-obtained

Cisco computer hardware across state lines, including from the Eastem District of Pennsylvania

to his residence in the District of Delaware.

               37.       Defendant JUSTIN DAVID MAY ignored Cisco's repeated

communications seeking the retum ofthe supposedly faulty computer hardware, and did not

retum any computer hardware to Cisco, because defendant MAY had never owned the

supposedly faulty computer hardware in the first place.

               38.       Defendant JUSTIN DAVID MAY sold the Cisco computer hardware he

obtained in this manner to companies that were in the business of purchasing and reselling

computer hardware, such as Computechsale LLC and Softnetworks LLC, both of which were

located in New Jersey.

               39.       Defendant JUSTIN DAVID MAY travelled with the fraudulent-obtained

Cisco computer hardware across state lines, including from his residence in the District   of

Delaware to Computechsale LLC and Softnetworks LLC in the District of New Jersey'

                40.      Defendant JUSTIN DAVID MAY received checks from Computechsale

LLC and Softnetworks LLC for his sale offraudulently-obtained Cisco computer hardware.

                41.      Defendant JUSTIN DAVID MAY converted checks he received for the

sale of Cisco "replacement" computer hardware to cash by, among other things, cashing the

checks at a check cashing company in the Eastem District of Pennsylvania.



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               42.    Defendant JUSTIN DAVID MAY deposited some of the cash he received

from the sale ofthe fraudulently-obtained Cisco computer hardware into his bank account ending

in2604 at Woodforest National Bank.

               43.    JUSTIN DAVID MAY used some of the proceeds from his sale of the

fraudulently-obtained Cisco computer hardware to purchase a 2017 BMW coupe for

approximately $62,246.

               44.    Defendant JUSTIN DAVID MAY used the 2017 BMW coupe to further

his fraud scheme by driving it from the District of Delaware to the Eastem District   of

Pennsylvani4 and elsewhere, to pick up additional "replacement" computer hardware that he

obtained from Cisco by fraud as part ofthe fraud scheme.

               45.    Defendant JUSTIN DAVID MAY, by his actions as set forth herein,

caused Cisco to ship computer hardware in response to approximately 169    ofthe approximately

266 separate fraudulent SRs submitted by defendant MAY. Of these approximately 169

shipments, defendant MAY successfully obtained from the delivery address approximately 155

pieces of valuable Cisco computer hardware, with a combined retail value of approximately

$2,194,915, most of which defendant MAY subsequently sold.

                                         MAIL FRAUD

               46.    On or about each ofthe following dates, in the Eastem District       of

Pennsylvani4 the District ofNevada, and elsewhere, defendant

                                     JUSTIN DAVID MAY

alone and with one or more co-schemers known to the grand jury, for the purpose of executing

the scheme described above, and attempting to do so, and aiding and abetting its execution,




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knowingly caused to be delivered by mail and commercial interstate carriers, according to the

directions thereon. the following items:

  COUNT           DATE               FROM       TO              DESCRIPTION OF ITEM

  ONE             May 17.2016        Roanoke,   Jenkintown,     Cisco Model # WS-3850-48P-
                                     Texas      Pennsylvania    S. retail value approximately
                                                                $ I 3,000, shipped via FedEx,
                                                                tracking # 676893389930. in
                                                                response to Cisco SR #
                                                                680370670
  TWO             htly 12,2016       Roanoke,   Springfield,    Cisco Model # WS-C3850-
                                     Texas      Pennsylvania    48F-S, retail value
                                                                approximately $14,000,
                                                                shipped via FedEx, tracking #
                                                                 6908448927 52, in response to
                                                                Cisco SR # 680605046
  THREE           July 20, 2016      Roanoke,   Exton,          Cisco Model # WS-C3850-
                                     Texas      Pennsylvania    48P-E, retail value
                                                                approximately $21,000,
                                                                shipped via FedEx, tracking #
                                                                 690844956492, in response to
                                                                Cisco SR # 680640480
  FOUR            July 20, 2016      Roanoke.   Wayne,          Cisco Model # WS-C3850-
                                     Texas      Pennsylvania    48T-S, retail value
                                                                approximately $1 1,500,
                                                                shipped via FedEx, tracking #
                                                                 690844956301 , in response to
                                                                Cisco SR # 680640796
  FIVE            July 25, 2016      Roanoke,   Wynnewood,       Cisco Model # WS-3850-
                                     Texas      Pennsylvania    48PW-S, retail value
                                                                 approximately $14,500,
                                                                 shipped via FedEx, tracking #
                                                                 690844993122, in response to
                                                                 Cisco SR # 680662587
  SIX             August 1 8,        Roanoke,    Philadelphia    Cisco Model # WS-3850-48P-
                  2016               Texas       Pennsylvania    L, retail value approximately
                                                                 $ 10,400, shipped via FedEx,
                                                                 tracking # 701630826669, in
                                                                 response to Cisco SR #
                                                                 680796102




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COUNT         DATE               FROM       TO              DESCRIPTION OF ITEM

SEVEN        November 28.        Roanoke,   Malvem.         Cisco Model # ASR-9001,
             2016                Texas      Pennsylvania    retail value approximately
                                                            $53,600, shipped via FedEx,
                                                            tracking # 7 1 4903325940, in
                                                            response to Cisco SR #
                                                            681366926
EIGHT         December 13,       Roanoke.   King of         Cisco Model # ASR-9001,
              2016               T'exas     Prussia,        retail value approximately
                                            Pennsylvania    $53,600, shipped via FedEx,
                                                            tracking # 7 I 4903461 63 l, in
                                                            response to Cisco SR #
                                                            681449650
NINE          Much9,2017         Roanoke,   Springfield,    Cisco Model # WS-C3850-
                                 Texas      Pennsylvania    48P-S, retail value
                                                            approximately $l 3,000,
                                                            shipped via FedEx, tracking
                                                            # 72550913804{ in response
                                                            to Cisco SR # 681939335
TEN           March 13. 201 7    Roanoke,   Plymouth        Cisco Model # WS-C3850-
                                 Texas      Meeting,        48T-S, retail value
                                            Pennsylvania    approximately $ l 1,500,
                                                             shipped via FedEx, tracking
                                                            # 725509156499, in response
                                                            to Cisco SR # 681957029
ELEVEN        March I 5. 201 7   Roanoke,   Philadelphia,    Cisco Model # WS-C3850-
                                 Texas      Pennsylvania    48P-L, retail value
                                                             approximately $ I 1,500,
                                                             shipped via FedEx, tracking
                                                             # 725509179950, in response
                                                             to Cisco SR # 681975518
TWELVE        March 30, 2017     Roanoke"   Reno,            Cisco Model # WS-C3850-
                                 Texas      Nevada           48U-S, retail value
                                                             approximately $ I 4,500,
                                                             shipped via FedEx, tracking
                                                             #'1 25 50927 8820, in response
                                                             to Cisco SR # 682067937
THIRTEEN      March 30, 2017     Roanoke,   Reno,            Cisco Model # WS-C3850-
                                 Texas      Nevada           48U-S, retail value
                                                             approximately $l 4,000,
                                                             shipped via FedEx, tracking
                                                             # 725509279919, in response
                                                             to Cisco SR #682068285




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COUNT        DATE                FROM           TO              DESCRIPTION OF ITEM

FOURTEEN     April 3,2017        Roanoke,       Philadelphi4    Cisco Model # WS-C3850-
                                 Texas          PA              48U-L, retail value
                                                                approximately $1 I,400,
                                                                shipped via FedEx, tracking
                                                                # 729853483641, in response
                                                                to Cisco SR # 682084775
FIFTEEN       April 3,2017        Roanoke,      Philadelphia,   Cisco Model # WS-C3850-
                                 Texas          PA              48U-L, retail value
                                                                approximately $ I 1,400,
                                                                shipped via FedEx, tracking
                                                                # 729853482976, in response
                                                                to Cisco SR # 682085341


           All in violation of Title   18, United States Code, Sections   l34l, 3559(9), and 2.




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                       COUNTS SIXTE EN THROUGH TWENTY-FOUR

THE GRAND JURY FURTHER CHARGES THAT:

                1.      Paragraphs 7 through   l0 ofCount   One are incorporated here.

                At all times relevant to this indictment:

                2.      Microsoft is a corporation based in Redmond, Washington that produces

computer software and hardware, including the Microsoft Surface, a personal computer that can

firnction as a laptop or tablet.

                3.      Microsoft manufactures, sells and supports its hardware on a global scale.

The Microsoft Surface comes standard with a one-year warranty. Customers can purchase

additional warranties through a handful of Microsoft approved distributors. When warranties and

associated devices are purchased, the distributor sends Microsoft a record   ofthe Surface device

serial numbers and the associated warranty. Microsoft tracks this information and if a customer

wants to confirm their device serial number and verifu their warranty status, they can use an

intemet browser and navigate to hups://mybusinessservice.surface.com.

                4.      Microsoft Enterprise customers are businesses or public sector customers

who meet user and device volume thresholds set by Microsoft. Enterprise customers are afforded

numerous benefits, including volume pricing discounts, a dedicated customer service channel

and enhanced warranty options. Under certain circumstances, Enterprise customers with a

qualifring warranty may opt for an "Advanced Exchange" of their device.

                5.      Advanced Exchange is a warranty replacement program where, in certain

circumstances, customers are immediately shipped a replacement device with the agreement that

they will retum their problematic device to Microsoft as stipulated in the Microsoft Device

Service Order Terms and Conditions. [n order to initiate an Advanced Exchange, a customer



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must be eligible based on their specific device, issue, and warranty status as determined by the

serial number oftheir device.

               6.     To initiate an Advanced Exchange, the customer calls the Microsoft

Global Customer Service Center to speak with a customer service agent who will address their

issue. The customer service agent   will first   assess the customer's   complaint about their Surface

device. If the Surface device is inoperable or needs repair, the customer service agent      will

recommend an exchange. Customers contacting customer service with a defective or damaged

device who have a valid Microsoft Complete warranty for that device will be given an

opportunity to use the Advanced Exchange service.

                                           THE SCHEME

               7.      Beginning in or about August 2017 and continuing until in or about

November 201 7, within the Eastem District of Pennsylvania and elsewhere, defendant

                                      JUSTIN DAVID MAY

alone and with one or more co-schemers unknown to the grandjury, devised and intended to

devise a scheme to defraud and to obtain money and property by means of false and fraudulent

pretenses, representations, and promises.

                                     MANNERANDMEANS

               8.      Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury obtained and ascertained serial numbers for Microsoft Surface devices that

defendant MAY did not own or possess.

               9.      Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury registered false domain names.




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                 t0.    Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury took steps to prevent the effective identification of defendant MAY and the

unknown co-schemers r$ the persons who registered the false domain names and to effectively

prevented Microsoft and law enforcement from contacting defendant MAY and the co-schemers

and tracking defendant   MAY   and the co-schemers by tracing the registration of the false domain

names, including paying for the domain name registration with Bitcoin and utilizing a service

called "WhoisGuard," which provided a level of anonymity for the person registering the domain

name.

                 11.    Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury established email addresses using the false domain names that were design to

mislead Microsoft into believing that the email address was associated with a person who

worked for a legitimate business.

                 12.    Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the $and jury used the false domain names, e-mail addressed they created tied to those false

domain names, and legitimate serial numbers that they had obtained and ascertained for

Microsoft Surface devices to submit approximately 227 false Microsoft Advanced Exchange

warranty claims for Microsoft products that defendant MAY and his co-schemers did not own or

possess,   all in an attempt to obtain by fraud computer hardware from Microsoft with   a   retail

value of over $600,000.

                 13.    Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury communicated with Microsoft Customer Service Representatives by phone,

email, and through online intemet chat sessions posing as legitimate Microsoft Surface device

customers with faulty Microsoft computer hardware that was under warranty and eligible for the



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Microsoft Advanced Exchange program in order to induce Microsoft to ship "replacemenl

computer hardware via United Parcel Service ("UPS) and Federal Express ("FedEx") for the

supposedly faulty computer hardware that defendant MAY and his co-schemers claimed to own

and possess.

               14.   . Defendant   JUSTIN DAVID MAY and more or more co-schemers

unknown to the grand jury provided Microsoft Customer Service Representatives with

photographs that purported to be true and correct photographs of legitimate serial numbers   of

Microsoft Surface devices but were in fact false and altered photographs.

               15.    Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury provided Microsoft Customer Service Representatives with descriptions of the

supposed problems with the computer hardware that defendant    MAY and his co-schemers knew

would prevent the Microsoft Customer Service Representatives from solving the supposed

problems through troubleshooting and would necessarily require the replacement of the

supposedly faulty computer hardware.

               16.       Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the gand jury represented to Microsoft that they would retum the supposedly faulty computer

hardware to Microsoft.

               17.       Defendant JUSTIN DAVID MAY and one or more co-schemers unknown

to the grand jury provided Microsoft with addresses at which Microsoft could ship the computer

hardware, including addresses in the Eastem District of Pennsylvania.

               18.       Defendant JUSTIN DAVID MAY and his co-schemers, by their

misrepresentations, induced Microsoft to ship approximately 139 Surface devices, with a retail

value of approximately $393,000 to defendant MAY and his co-conspirators via UPS and FedEx



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